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     Attorney for Eric M.aione

                                            )      UNITEI) STATES DISTRICT COURT
                                            )      FOR THE DISTR1C9. CF NEW JERSEY
                                            ).
                                            )
                                            )      DOCKET NO, 08327 (SRC)
                                            )
                                            )
     ERIC MAlONE                            )      ORDER EXTENDING
                                                   SURRENDER DATE


             This matter HAVING COME BEFORE THE Court on the motion of defendant
     Eric Malone, by his attorney Donald F. Manna. Esq. for an order extending the time to
     surrender on the sentence imposed by this Court on February 10, 2011; and the United
     States by Assistant United States Attorney Bohdari Vitvitsky, Esq. having no objection;
     and this extension being necessary because Mr. Malone has not yet been sentenced in the
     matter where he has plead guilty in EDNY; and for good cause shown:

            IT IS ON THIS       ?d of ApI, 2011:

            ORDERED that Eric Maione shall surrender on June 28, 2011 to the institution
     designated by the United States Bureau of Prisons.




                                            HONO        LE STANLEY R. CHESLER
                                            United States District Judge

     I consent to the form and content of this order.
                                                                     /


                                                    Bohdan Vitvitsky, Esq.
     Attorney for Eric Malone                       Assistant U. S. Attorne.y
